        Case 1:24-cv-03639-TWT Document 44 Filed 09/03/24 Page 1 of 12




                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

ISSAC HAYES ENTERPRISES, LLC, and
THE ESTATE OF ISSAC HAYES,

              Plaintiffs,                         Civil Action No. 24-CV-03639-
                                                  TWT
       v.

 DONALD JOHN TRUMP
 individually, DONALD J. TRUMP
 FOR PRESIDENT, 2024, INC.,
 REPUBLICAN NATIONAL
 COMMITTEE, TURNING POINT
 USA, INC., NATIONAL RIFLE
 ASSOCIATION OF AMERICA,
 AMERICAN CONSERVATIVE
 UNION, BTC, INC.,

              Defendants.


       DEFENDANT NRA’S RESPONSE TO PLAINTIFFS’ MOTION FOR
              EMERGENCY PRELIMNARY INJUNCTION


      Defendant National Rifle Association of America (“NRA”) respectfully submits

this brief in opposition to Plaintiffs’ Motion for Emergency Preliminary Injunction.

                                   INTRODUCTION

      Plaintiffs have moved for a preliminary injunction alleging unauthorized use of a

copyrighted song during Trump Campaign events. The NRA has not engaged in any

unauthorized use of the song in question. The NRA possesses a valid, active license
        Case 1:24-cv-03639-TWT Document 44 Filed 09/03/24 Page 2 of 12




agreement with Broadcast Music, Inc. (“BMI”) which covers the performance of the song

at NRA events, including the NRA events where the song was played.

                              FACTUAL BACKGROUND

       The NRA entered into a license agreement with BMI in 2015, which has

automatically renewed each year (Exhibit A at ¶ 10). This agreement grants the NRA the

right to use and perform the song in question. To show that the license is current, the

most recent annual report confirms that the NRA paid all required license fees for 2023,

thus showing the ongoing nature of the license (Exhibit B).

       Plaintiffs’ counsel was provided with the 2015 agreement on September 2, 2024.

However, they incorrectly asserted in response that the license only covered the year

2015. Plaintiffs’ counsel is mistaken. The agreement has been continuously renewed, as

evidenced by the most recent documentation (Exhibit B).

       In addition, the links identified in the Amended Complaint at paragraphs 55 to 58

do not lead to any complained of videos having been uploaded by the NRA.

                                      ARGUMENT

       The NRA has an automatically renewing license with BMI, dating back to 2015

(Exhibit A). This license has been renewed each year, and the most recent annual report

confirms the NRA’s authority to use the song in question (Exhibit B). Therefore, the use

of the song at the event in question was fully licensed and authorized, and Plaintiffs’

claims against the NRA are without merit.

       In addition, NRA adopts the applicable facts and arguments as set forth in the

opposition briefs filed by the Republican National Committee (“RNC”), Defendant
        Case 1:24-cv-03639-TWT Document 44 Filed 09/03/24 Page 3 of 12




Trump, and Donald J. Trump for President 2024, Inc. (“DJTFP”), and Defendant TPUSA

(Doc. 26, 28, and 37).

                                    CONCLUSION

      For the reasons stated above, the NRA respectfully requests that the Court deny

Plaintiffs’ Motion for Emergency Preliminary Injunction as it pertains to the NRA.

      Respectfully submitted this 3rd day of September 2024.


                                            /s/ William D. Barwick
                                            William D. Barwick
                                            Georgia Bar. No. 041025
                                            C. Brad Fallon
                                            Georgia Bar No. 226335
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                                            1825 Eye Street, N.W., Suite 900
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                                            Counsel for Defendant National Rifle
                                            Association of America
       Case 1:24-cv-03639-TWT Document 44 Filed 09/03/24 Page 4 of 12




                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in

accordance with the font type and margin requirements of L.R. 5.1, using font type

of Times New Roman and a point size of 14.


                                         /s/ Brad Fallon
                                         Brad Fallon
                                         Georgia Bar No. 226335
Case 1:24-cv-03639-TWT Document 44 Filed 09/03/24 Page 5 of 12




                         EXHIBIT A




               Exhibit A
             Case 1:24-cv-03639-TWT Document 44 Filed 09/03/24 Page 6 of 12




                                                                                             January 14, 2015




Vanessa Shahidi
N RA
11250 Waples Mill Rd
Fairfax VA 22030




                                      Your Decal Shows That You Support American Music!

Dear Ms. Shahidi:

Thank you for licensing your use of BMI music and for recognizing the importance of BMrs work in
helping to promote the continued growth of American Music. Our staff is very proud to serve the
music licensing needs of businesses and organizations like yours because our work and the work of
our more than 600,000 affiliated songwriters, composers, and music publishers would not be possible
without your support.

For this reason, I am pleased to enclose an executed copy of your BMI Music License ­ your official
verification that your business or organization can benefit from BMI's more than 8.5 million musical
works. Our award­winning repertoire includes every style of music created, which ensures that you
will find the right musical fit to create the best atmosphere for your place of business.

I'm also pleased to enclose a BMI decal to display in your establishment or organization to show that
you help contribute to the continuance of American Music by licensing your music use. Again, on
behalf of the entire family of BMI songwriters, composers, and music publishers, thank you for playing
BMI music.

                                                                                             Sincerely,




                                                                                             Michael Steinberg
                                                                                             Senior Vice President
                                                                                             Licensing

Encl: Executed MPA, BMI Decal, Online One­Sheet


P.S. Did you know that BMI customers can save up to 25% at FedEx, JBL, and Deil?

                                                                                                                               3095701
   10 Music Square East, Nashville, Tennessee 37203­4399                               (600) 925­8451     Fax: (615)401­2624   EXECMPA­6.doc
   BMI and the music stand symbol are registered trademarks ot Broadcast Music, Inc.
Case 1:24-cv-03639-TWT Document 44 Filed 09/03/24 Page 7 of 12




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                               BMI
        i.              Case 1:24-cv-03639-TWT Document 44 Filed 09/03/24 Page 8 of 12


                                       Music License for Meetings, Conventions,
                                            Trade Shows and Expositions
1.    DEFINITIONS
(a)   "Event" shall mean a convention that includes an assemblage of delegates, representatives and/or members of an organization^) convened for a common
      purpose, a meeting which includes individuals assembled together for purposes of communicating information to each other (i.e. panels, seminars,
      symposiums, convocations, conferences, caucuses, forums, assemblies, congresses, institutes) or otherwise transacting business, an exposition at which
      products and services are displayed, or a trade, industrial or consumer show, or other activity of LICENSEE of not more than fourteen (14) consecutive days.
      An "Event" shall mean a concert which is sponsored, conducted, endorsed or approved by LICENSEE, unless the concert is open to members of the
      general public who are not affiliated with the LICENSEE.
(b)   A "Function" shall include activity conducted, sponsored, endorsed or approved by LICENSEE occurring in connection with an Event, including, but not
      limited to, meals, plenary sessions, breakouts, meetings, receptions, concerts, cocktail parties, dinners, dances, dinner­dances, variety shows, seminars, or
      any other similar spectator or participatory activity.
(c)   "Attendees" shall mean the number of persons present where any live, recorded or audio­visual music is performed or played at each of LICENSEE'S
      Events whether or not any admission charge, registration fee or other payment Is required to be made in connection with the attendance, but shall not include
      those required to produce the Event, such as LICENSEE'S employees working al the Event, exhibitor personnel, administrative, service contractor and
      temporary personnel, or credentialed members of the press. In the case of a trade show or convention where live or recorded music is performed on the
      exhibit floor, the number of Attendees shall be tits total number of persons registered at the trade show / convention. If no muse is performed on the exhtoit
      floor, the number of Attendees shall mean die total attendance at each Function held during the trade show or convention st which music is performed;
      provided, however, that in no event shall the number of Attendees for a given trade show or convention exceed the total number of persons registered at the
      trade show / convention. In the case of a meeting which does not have an exhibit floor and oonslsts only of a series of Functions, the number of Attendees
      shall be the total attendance at each Function at which music is performed, with the number not to exceed the total registered attendance of the entire
      meeting.
2.    BMI GRANT
(a)   BMI hereby grants to LICENSEE a non­exclusive license to perform, present or cause the live and/or recorded performance during Events of ali musical
      works of which 8MI shall have the right to grant public performance licenses during the Term hereof. This license does not Include: (i) dramatic rights, the
      right to perform dramatico­musicat works in whole or in substantial part, the right to present individual works in a dramatic setting or the right to use the music
      licensed hereunder in any other context which may constitute an exercise of the "grand rights" therein; or (ii) the right to broadcast, telecast or otherwise
      transmit, including via the Internet or on­line service, the performances licensed hereunder to persons outside of any premises at which an Event occurs.
(b)   LICENSEE may be responsible for securing other rights including, but not limited to, synchronization and mechanical rights.
(c)   BMI may withdraw from the license your right to perform any musical work as to which a legal action has been brought or e claim made that BMI does not
      have the right to license the work or that the work infringes another work.
3. INDEMNITY BY BMI
BMI agrees to indemnify you, your officers and employees against any and ali claims that may be made against you with respect to the performance of any music
licensed under this Agreement at the time of your performances. You agree to give BMI immediate notice of any claim, to deliver to BMI any related papers and to
cooperate with BMI in the matter, of which BMI shall be In full charge.
4. ARBITRATION
All disputes of any kind arising in connection with the terms of this Agreement shall be submitted to the American Arbitration Association in New York, New York
under its rules Ihen in effect. The arbitrators shall be selected as follows: each of us shall, by written notice to the other, have the right to appoint one arbitrator. If.
within ten (10) days after such notice by one of us, the other one does not. by written notice, appoint another arbitrator, the first arbitrator stall be the only
arbitrator. However, if we each appoint an arbitrator, the two arbitrators shall appoint a third arbitrator. If ten (10) days pass after the second arbitrator's
appointment and the two arbitrators cannot agree upon the third arbitrator, then either of us may, in writing, request the American Arbitration Association to appoint
the third arbitrator. The arbitration award shall be entirely binding on both of us and judgment may be entered in any appropriate court. The award shall include
an amount for the costs, expenses and attorneys' fees of arbitration, which shall be paid by the losing parly.
5.    NOTICES
Any notices to be given are to be in writing and shati be deemed given on the day they are sent by ordinary first­class U.S. mail to the other of us at its mailing
address or any different address which either of us later designates in writing. Any notices you send to BMI shall be addressed to the attention of the Licensing
Department. Any notices 8M1 sends to you shall be addressed to the attention of the person signing this Agreement for you unless you advise BMI to address
notices to someone else.
6. MISCELLANEOUS
This Agreement is our entire understanding, shall not be binding until signed by bote of us, and no waiver or change shall be valid unless in writing and signed by
us. Your rights are not assignable. This Agreement, its validity, construction and effect, shall be governed by tee laws of the State of New York. The fact that any
parts of this Agreement may be found by a court of competent jurisdiction to be void or unenforceable shall not affect tee validity or enforceability of any other
parts.
7. FEES
LICENSEE agrees to pay BMI for each one year Term of the Agreement a license fee based upon the following:
                                                            Calendar Year                              Per Attendee Rate
                                                                   2015                                         $0.07
(a)   For each year sfter tee year 2000, the per attendee rate shall be an adjustment of the rate for tee previous calendar year based upon tee percentage
      increase or decrease in the United States Consumer Price index (National, All Items) ("CPI") between September of the year which is two years before such
      year and September of the preceding year, rounded to the nearest penny (for example, the rate for the year 2001 shall be an adjustment of tee rate for tee
      year 2000, based upon the percentage difference in the CPI between September 1999 and September 2000). BMI shall inform you of tee adjusted rate by
      the end of each calendar year.
(b)   The minimum annual fee billed and payable for 2015 shaD be $155 per year. The minimum annual fee for each year after 2015 shall be an adjustment of the
      minimum annual tee for the previous calendar year based upon tee percentage increase or decrease in the CPI between September of the year which is two
      years before such year and September of the preceding year, rounded to the nearest five dollars.
(c)   You agree to pay to BMI for each calendar year tee total tee due. The minimum annual fee ($is$) only is due simultaneously with your execution and return
      of this Agreement. The remainder of the actual license fee for each calendar year stall be due within thirty (30) days from the beginning of the following
      calendar year, upon submission of tee report required in Paragraph 8, along with tee minimum annual fee for the following calendar year.
(d)   The license fee for each calendar year stall be based upon UCENSEE'6 actual total number of Attendees for that calendar year as set forth cm the report
      required by Paragraph 8. If such report reveals teat the actual tee due BMI for teat report's calendar year 1$ greater than the minimum annual fee previously
      paid. LICENSEE shall pay the difference at tee same time it submits tee report and pays its minimum annual fee for the following calendar year.




                                                                                Page 1 of 2
        A                Case 1:24-cv-03639-TWT Document 44 Filed 09/03/24 Page 9 of 12
8.    REPORTING OF EVENTS
At the same time as the payment for the second and subsequent calendar years is due. you agree to furnish BMI (on forms available from BMI) with a report
setting forth:
             (i) the total number of Events held during the previous calendar year
             (ii) die total number of Attendees at all Events held during the previous calendar year; and
             (Hi) the total license fee for the previous calendar year and die minimum annual license fee for the current calendar year.
9.    VERIFICATION OF / FAILURE TO REPORT
(a)   BMI Is entitled to verify the information submitted by LICENSEE in its report under Paragraph 8, by any source, including the examination of LICENSEE'S
      books and records. As such, LICENSEE is required to retain such books and records for a period of not less than three years after the calendar year
      contained in LICENSEE'S report, copies of which books and records shall be turned over to BMI upon its request. If after such examination, BMI is still
      unable to verify said Information, BMI shallbe entitled to unilaterally assess LICENSEE a reasonable annual fee using any source.
(b)   In the event LICENSEE fails to submit a report as required under Paragraph 8 within thirty (30) days after BMI has given LICENSEE written notice of its
      failure to do 80, BMI shall be entitled to unilaterally assess LICENSEE a reasonable annual tee using any source. Including an examination of LICENSEE'S
      books and records as set forth above.
10. TERM OF AGREEMENT
The initial Term of this annual Agreement begins on January 1,, 2015 and shall end on December 31, 2015 and shall continue annually unless canceled by
either you or BMI at the end of the Initial Term or any following one (1) year Term by giving thirty (30) days advance written notice to the other of us. BMi shall
have the right to cancel this Agreement along with die simultaneous cancellation of the Agreements of all other licensees of the same class and category as
LICENSEE, as of the end of any month during the Term, upon sixty (60) days advance written notice. If there is any breach or default by you of this Agreement,
BMI shall have the right to cancel It, but the cancellation shall become effective only if the breach or default continues thirty (30) days after the date of BMf's written
notice to you. The right to cancel is in addition to any other remedies which BMI may have. BMI may enforce any of Its lights under this Agreement at any time
even If H has not done so earlier,
                                                                                         AGREEMENT
AGREEMENT, made at New York, N.Y. on (Date WiII Be Entered by BMI Upon Execution)                            JAN 1 3 201L
                                                                                                                    .Itween BROADCAST MUSIC. INC. (hereinafter called
BMI). a state of New York corporation wilh its principal offices at 7 Worid Trade Center, 250 Greenwich Street. New York, N.Y. 10007­0030 and the entity described below
and referred to thereafter as "LICENSEE* or "You:*
                                    ItffiAlrNAME                                                                                  LICENSED PREMISES

                          National Rifle Assn Of AmericA                                        11250 Waples Mill Rd
                   (Warns of Corporation, Partnership, or Individual Owned                       (Street Address)
                                                                                                 Fairfax                                             VA                     22030
                                    TRADENAME
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                                          N RA                                                  ­<37^444­9600­                                     . (977?
                            (Doing business under Pw name at)                                   (Telephone Number)                                       (Fan Number)
                                                                                                Vanessa Shahkli
                     PLEASE CHECK APPROPRIATE BOX                                               (Contact Name)                                           (Title)

                                                                                                vshahidi@nrahq.org                                   www.nra.org
                                                                                                (Emai Address)                                           (Web Address)
I 1 Individual Ownership

 LLC

PI LLP
                      Corporation

              n Partnership
                                                  "I
                                           (Sue of incorporateI Maters from Licensed Pmnttatl
                                                                                                                                    MAILING ADDRESS
                                                         (£imt names or partners)                                             (If different from Licensed Premises)



n Other          _
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 Federal Tax ID No.        6 1 ­ p W Q\*>D
                                                                                                WW                                                        (State)            (Zip)
                            GOVERNMENT ENTITIES
                             (If applicable, please check one)                                  (Telephone Number)                                       (Fes Number)

l~|   Federal      Q      State                                                                 Vanessa Shahidi
                                                              (Stale)                           (Contact Name)                                           (me)

     Local
                                        (htunldpatity/City and State)
                                                                                                vshahidi@nrahq.org
                                                                                                fEroafl Address­ d different from above)

                     TO BE COMPLETED BY LICENSEE                                                                         FOR ADMINISTRATIVE USE ONLY
                                                                                                                           TO BE COMPLETED BY BMI
 By signing this Agreement you represent that you have the authorty to bind LICENSEE                                           BROADCAST MUSIC INC.
 and thatryou bive read, iraderstood and agree to all of the terms and concffiions herein.
                                  .PLEASEINCLUDE PAYMENT)


                           vI           Signature
                      Ou/aiCJK oUrtU.i'ok {                         k) ( A Ufl
                             prinl Name /Title                                                                              Mike Steinberg
                           vshahidi@nrahq.org                                                                       Senior Vice President, Licensing
                              Signatory Email Address'
                                  (8 ddferenl from sbove)                                                       FOR BMI USE ONLY                     I    45*7           U­2C11/OCT
            *fn order to receive a copy of your executed Agreement,                                                                                                      EFFECTIVE:
                please provide the email address of the Signatory                                      3095701                             3095701                       January 2012
                 PLEASE RETURN THIS ENTIRE SIGNED
                      LICENSE AGREEMENT TO:                                                         ACCOUNT NO.                             COID
            BMI, 10 MUSIC SQUARE E., NASHVILLE, TN 37203                                                                           * SMI and the music stand symbol are
                                                                                                                           registered trademarks of Broadcast Music, inc.

                                                         II
01/05/2015                         3095701                                                Page 2 of2
Case 1:24-cv-03639-TWT Document 44 Filed 09/03/24 Page 10 of 12




                          EXHIBIT B




                Exhibit B
Case 1:24-cv-03639-TWT Document 44 Filed 09/03/24 Page 11 of 12
       Case 1:24-cv-03639-TWT Document 44 Filed 09/03/24 Page 12 of 12




                         CERTIFICATE OF SERVICE

      I certify that on September 3, 2024, I electronically filed a true and correct

copy of the foregoing with the Clerk of the Court via CM/ECF, which shall cause

service on all counsel of record.

                                           /s/ Brad Fallon
                                           Brad Fallon
                                           Georgia Bar No. 226335
                                           Counsel for the NRA
